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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
 SECURITIES AND EXCHANGE
 COMMISSION,

                         Plaintiff,

 v.                                                              Case No: 6:21-cv-694-CEM-DCI

 HARBOR CITY CAPITAL CORP.,
 HARBOR CITY VENTURES, LLC,
 HCCF-1 LLC, HCCF-2 LLC, HCCF-3
 LLC, HCCF-4 LLC, HCCF-5 LLC,
 HARBOR CITY DIGITAL VENTURES,
 INC., HCC MEDIA FUNDING, LLC,
 JONATHAN P. MARONEY, CELTIC
 ENTERPRISES, LLC and TONYA L.
 MARONEY,

                         Defendants.


                                REPORT AND RECOMMENDATION
           This cause comes before the undersigned for consideration without oral argument on the

 following motion:

           MOTION:       Receiver’s Unopposed Fourth Quarterly Fee Application for
                         Order Awarding Fees and Reimbursement of Costs to
                         Receiver and Her Professionals (Doc. 123)

           FILED:        November 14, 2022



           THEREON it is Recommended that the motion be GRANTED.

      I.      Background

           Katherine Donlon, Esq. (the Receiver) has been appointed as receiver in this matter. Doc.

 68. The scope of her powers was laid out by separate order. Doc. 72-1; accord Doc. 75. That
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 order stated that Receiver was “given authority to retain Nicole D. Newlon of Johnson, Cassidy,

 Newlon & DeCort, as counsel.” Doc. 72-1 ¶ 2; accord Doc. 75. That order also provided that:

           54. Subject to Paragraph 55 immediately below, the Receiver is authorized to solicit
           persons and entities (“Retained Personnel”) to assist Receiver in carrying out the
           duties and responsibilities described in this Order. Except for counsel retained by
           the Receiver pursuant to Paragraph 2 of this Order, the Receiver shall not engage
           any Retained Personnel without first obtaining an Order of the Court authorizing
           such engagement.

           55. The Receiver and Retained Personnel are entitled to reasonable compensation
           and expense reimbursement from the Receivership Estates as described in the
           “Billing Instructions for Receivers in Civil Actions Commenced by the U.S.
           Securities and Exchange Commission” (the “Billing Instructions”) agreed to by the
           Receiver. Such compensation shall require the prior approval of the Court.

 Doc. 72-1 ¶¶ 54, 55; accord Doc. 75.

           To receive these fees, the order provided that:

           56. Within forty-five (45) days after the end of each calendar quarter, the Receiver
           and Retained Personnel shall apply to the Court for compensation and expense
           reimbursement from the Receivership Estates (the “Quarterly Fee Applications”).
           At least thirty (30) days prior to filing each Quarterly Fee Application with the
           Court, the Receiver will serve upon counsel for the Commission a complete copy
           of the proposed Application, together with all exhibits and relevant billing
           information in a format to be provided by Commission staff.

 Doc. 72-1 ¶ 56; accord Doc. 75.           Accordingly, Receiver filed her Fourth Quarterly Fee

 Application, which is unopposed.1 Doc. 123 (the Motion).

     II.      Standard

           Courts are required to utilize the lodestar approach to determine reasonable compensation.

 SEC v. Aquacell Batteries, Inc., No. 6:07-cv-608-Orl-22DAB, 2008 WL 276026, at *3 (M.D. Fla.

 Jan. 31, 2008). The lodestar figure is reached by “multiply[ing] the number of hours reasonably




 1
   The undersigned notes that the Securities and Exchange Commission’s lack of objection is a
 factor in the analysis. See S.E.C. v. Kirkland, 2011 WL 5985025, at *1 (M.D. Fla. Nov. 4, 2011)
 (“[T]he Court will consider the SEC's lack of objection as simply one factor in the analysis.”).



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 expended by a reasonable hourly rate.” Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994)

 (internal quotations omitted); see also Jackson v. Grupo Indus. Hotelero, S.A., No. 07-22046, 2010

 WL 750301, at *2 (S.D. Fla. Mar. 3, 2010). The party moving for fees has the burden of

 establishing that the hourly rates and hours expended are reasonable. See Norman v. Hous. Auth.

 of the City of Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988). “If evidence is inadequate, a

 court in its discretion may reduce an award, make the award on its own experience without further

 filings or an evidentiary hearing, or exclude unsupported requests.” Proescher v. Sec. Collection

 Agency, No. 3:17-CV-1052-J-32PDB, 2018 WL 3432737, at *10-11 (M.D. Fla. June 8, 2018),

 report and recommendation adopted sub nom., No. 3:17-CV-1052-J-32PDB, 2018 WL 3428157

 (M.D. Fla. July 16, 2018) (internal citations and quotations omitted). In determining if the

 requested rate is reasonable, the Court may consider the applicable Johnson factors and may rely

 on its own knowledge and experience. Norman, 836 F.2d at 1299-1300, 1303 (“The court, either

 trial or appellate, is itself an expert on the question and may consider its own knowledge and

 experience concerning reasonable and proper fees and may form an independent judgment either

 with or without the aid of witnesses as to value.”) (quotations and citation omitted); see Johnson

 v. Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).2




 2
   The Johnson factors are: 1) the time and labor required; 2) the novelty and difficulty of the
 questions; 3) the skill requisite to perform the legal services properly; 4) the preclusion of other
 employment by the attorney due to acceptance of the case; 5) the customary fee in the community;
 6) whether the fee is fixed or contingent; 7) time limitations imposed by the client or
 circumstances; 8) the amount involved and the results obtained; 9) the experience, reputation, and
 the ability of the attorney; 10) the “undesirability” of the case; 11) the nature and length of the
 professional relationship with the client; and 12) awards in similar cases. Johnson, 488 F.2d at
 717–19. The Eleventh Circuit has subsequently explained that “district courts may, but are not
 required to, consider [the Johnson] factors since many ‘usually are subsumed within the initial
 calculation of hours reasonably expended at a reasonable hourly rate.’” Mock v. Bell Helicopter
 Textron, Inc., 456 F. App’x 799, 801 (11th Cir. 2012) (quoting ADA v. Neptune Designs, Inc., 469
 F.3d 1357, 1359 n.1 (11th Cir. 2006)).



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     III.      Discussion

            A. Receiver’s Fee

            Receiver requests $6,020.00 in fees, based on 17.2 hours expended at an hourly rate of

 $350.00. Doc. 123 at 5. Receiver expended 6.5 hours in the Asset Analysis and Recovery

 category, 6.1 hours in the Asset Disposition category, 0.4 hours in the Business Operations

 Category and 4.2 hours in the Case Administration category.3

            Based on the events detailed in the Motion, Doc. 123 at 2, and the itemized timesheet

 attached to the Motion, Doc. 123-2, the undersigned finds that the hours expended by Receiver

 from July 1, 2022 through September 30, 2022 are reasonable.

            As in a prior report, Doc. 100, which was adopted by the Court, Doc. 107, the undersigned

 finds that Receiver’s requested hourly rate of $350.00 is reasonable. Upon consideration of all

 factors, the undersigned respectfully recommends that the Court grant Receiver’s request to be

 paid $6,020.00 in fees for services rendered.

            B. Receiver’s Personnel’s Fee

            To assist her in her duties, Receiver hired counsel, Nicole D. Newlon (Counsel Newlon)

 of the law firm Johnson, Cassidy, Newlon & DeCort P.A. (JCND), along with JCND support staff.

            Receiver requests that the Court allow her to pay JCND for professional services rendered

 from July 1, 2022 through September 30, 2022. Receiver requests to pay JCND $6,930.00 for

 Counsel Newlon’s services. Counsel Newlon expended 19.8 hours at an hourly rate of $350.00:

 17.4 hours in the Asset Analysis and Recovery category; and 2.4 hours in the Asset Disposition

 category. Doc. 123-3. As in a prior report, Doc. 100, which was adopted by the Court, Doc. 107,



 3
   It appears that the Commission provided Receiver with billing instructions; those billing
 instruction apparently direct Receiver to allocate time billed for each project to a specific “Activity
 Category.” See Doc. 123 at 6 n.2.



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 the undersigned finds that Counsel Newlon’s requested hourly rate of $350.00 is reasonable. Upon

 reviewing the events detailed in the Motion, Doc. 123 at 2, and the itemized timesheet attached to

 the Motion, Doc. 123-3, the undersigned finds that the hours expended by Counsel Newlon from

 July 1, 2022 through September 30, 2022 are reasonable.

        Receiver also requests to pay $2,100.00 for JCND’s paralegals’ services. The paralegals

 expended a total of 14 hours at an hourly rate of $150.00: 13.2 hours in the Asset Analysis and

 Recovery category; and 0.8 hours in the Asset Disposition category. Doc. 123-3. As in a prior

 report, Doc. 100, which was adopted by the Court, Doc. 107, the undersigned finds that the JCND

 paralegals’ requested hourly rate of $150.00 is reasonable. Upon reviewing the events detailed in

 the Motion, Doc. 123 at 2, and the itemized timesheet attached to the Motion, Doc. 123-3, the

 undersigned finds that the hours expended by JCND’s paralegals from July 1, 2022 through

 September 30, 2022 are reasonable.

        Accordingly, the undersigned respectfully recommends that the Court allow Receiver to

 pay JCND $6,930.00 for Counsel Newlon’s services in this case and $2,100.00 for JCND’s

 paralegals’ services. In total, the undersigned recommends that the Court allow Receiver to pay

 JCND $9,030.00 for professional services rendered.

        C. Receiver’s Personnel’s Costs

        In addition to fees, Receiver requests that the Court allow her to pay JCND $23,471.09 for

 costs incurred. Doc. 123 at 9. Upon review of the attached invoices with itemized expenses, Doc.

 123-3 at 6, 9, these expenses appear to be justified. Further, the undersigned notes that most of

 the expenses are related to repair, utility, and upkeep costs for a real property asset. Doc. 123 at

 2, 9. Thus, the undersigned respectfully recommends that the Court allow Receiver to pay JCND

 $23,471.09 for costs incurred.




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    IV.      Conclusion

          Accordingly, for the foregoing reasons, it is respectfully Recommended that the Motion

 (Doc. 123) be GRANTED, such that:

          1) Receiver be paid $6,020.00 for professional services rendered;

          2) Receiver be permitted to pay JCND $9,030.00 for professional services rendered; and

          3) Receiver be permitted to pay JCND $23,471.09 for costs incurred.

                                      NOTICE TO PARTIES

          The party has fourteen days from the date the party is served a copy of this report to file

 written objections to this report’s proposed findings and recommendations or to seek an extension

 of the fourteen-day deadline to file written objections. 28 U.S.C. § 636(b)(1)(C). A party’s failure

 to serve and file written objections waives that party’s right to challenge on appeal any unobjected-

 to factual finding or legal conclusion the district judge adopts from the Report and

 Recommendation. See 11th Cir. R. 3-1; 28 U.S.C. § 636(b)(1).

          Recommended in Orlando, Florida on December 23, 2022.




 Copies furnished to:

 Presiding District Judge
 Counsel of Record
 Unrepresented Party
 Courtroom Deputy




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